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                     6         MEEHAN
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                     9
                                                   UNITED STATES DISTRICT COURT
                    10                            CENTRAL DISTRICT OF CALIFORNIA
                    11
                               JOSEPH R. MEEHAN,             ) Case No. 2:20-cv-09191-MWF(Ex)
                    12                                       )
                                             Plaintiff,      ) APPLICATION FOR CLERK TO
                    13                                       ) ENTER DEFAULT;
                                        vs.                  ) DECLARATION OF JOE
                    14                                       ) UTZURRUM
                    15         ALLISON WOODARD,              )
                                                             ) [Fed. R. Civ. P 55(a)]
                    16                       Defendant.      )
                                                             )
                    17                                       )
                                    TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                    18
                                    Plaintiff, JOSEPH R. MEEHAN, hereby requests that the Clerk of the
                    19
                               above-entitled Court enter default in this matter against defendant, ALLISON
                    20
                               WOODARD, on the ground that said defendant has failed to appear or
                    21
                               otherwise respond to the complaint within the time prescribed by the Federal
                    22
                               Rules of Civil Procedure Rule 12. After diligently attempting to serve
                    23
                               defendant personally, plaintiff caused the complaint to be served on
                    24
                               defendant on October 26, 2020 by substitute service.
                    25
                    26
                    27
                    28
                                                                                    Application for Clerk to Enter Default
UTZURRUM LAW OFFICES, A.P.C.
Case 2:20-cv-09191-MWF-E Document 12 Filed 01/18/21 Page 2 of 2 Page ID #:54


         In support of the application is the attached declaration of Joe
1 Utzurrum.
2 Dated: January 18, 2021
3                                      UTZURRUM LAW OFFICES, A.P.C.
4
5
6                                      By:         /s/ Joe Utzurrum
7                                      Joe Utzurrum, Attorney for Plaintiff,
8                                      JOSEPH R. MEEHAN
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                                                        Application for Clerk to Enter Default
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